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                              6 Attorneys for Defendant Union Pacific
                                Railroad Company
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                              8
                              9                            UNITED STATES DISTRICT COURT
                           10                            CENTRAL DISTRICT OF CALIFORNIA
                           11 GEORGE TORRES, an individual; and              Case No. 2:17-cv-04059-MCS-JEM
                              ROBERTA TORRES, an individual,
                           12                                                DECLARATION OF SARAH P.
                                       Plaintiff,                            BELL IN SUPPORT OF UNION
                           13                                                PACIFIC RAILROAD COMPANY’S
                                  vs.                                        OPPOSITION TO EX PARTE
                           14                                                APPLICATION TO CONTINUE
                              HAROLD IGDALOFF, et al.,                       TRIAL BY THIRTY (30) DAYS
                           15
                                       Defendants.                           The Hon. Mark C. Scarsi
                           16
                              UNION PACIFIC RAILROAD                         Trial Date: April 19, 2022
                           17 COMPANY, a Delaware corporation
                           18           Defendant and Cross-Claimant,
                           19 vs.
                           20 HAROLD IGDALOFF, et al..
                           21           Defendants and Cross-Defendants.
                           22 AND RELATED CROSSCLAIMS
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   Farella Braun + Martel LLP       DECL. OF SARAH BELL IN SUPP. OF UPRR’S                                34999\14735324.1
235 Montgomery Street, 17th Floor
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                              1           I, Sarah P. Bell, declare as follows:
                              2           1.     I am an attorney duly admitted to practice before this Court. I am a
                              3 partner with Farella Braun + Martel LLP, attorneys of record for Defendant Union
                              4 Pacific Railroad Company (“Union Pacific”). I have personal knowledge of the
                              5 facts set forth herein. If called as a witness, I could and would competently testify
                              6 to the matters stated herein. I make this declaration in support of Union Pacific’s
                              7 Opposition to Ex Parte Application to Continue the Trial Date by Thirty (30) Days.
                              8           2.     The parties in this action have been working with Mr. Timothy
                              9 Gallagher in an attempt to resolve this dispute since December 2020. During that
                           10 time, Union Pacific has participated in several mediation sessions at great expense,
                           11 including at least one significant mediation session in July 2021 solely between the
                           12 Igdaloffs (including Mr. Igdaloff’s daughters) and Union Pacific, as well as ongoing
                           13 telephone discussions facilitated by Mr. Gallagher. Without disclosing any
                           14 information covered under the mediation privilege, it is fair to say that from Union
                           15 Pacific’s perspective, Mr. Igdaloff has not yet put forward a serious offer that
                           16 reflects the Igdaloffs’ potential exposure and the Igdaloffs’ good faith intention to
                           17 settle this case.
                           18             3.     After this Court granted Mr. F, angary’s motion to withdraw on March
                           19 18, 2022, my colleague Elizabeth Dorsi and I have repeatedly attempted to
                           20 determine whether the Igdaloffs would be represented by counsel at trial. These
                           21 efforts have repeatedly gone unanswered.
                           22             4.     For example, on March 23, 2022, Ms. Dorsi emailed the attorneys
                           23 representing Mr. Igdaloff in the conservatorship action, Mr. Ostrin and Mr. Oldman,
                           24 and requested to speak about outstanding trial preparation issues (such as which of
                           25 Union Pacific’s witnesses the Igdaloffs would be cross-examining). Mr. Oldman
                           26 replied that neither he nor Mr. Ostrin would be representing Mr. Igdaloff in this
                           27 CERCLA action. They agreed to speak with us on Friday, March 27 to discuss the
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                              1 issue further. A true and correct copy of this email chain is attached hereto as
                              2 Exhibit 1.
                              3           5.     On March 25, 2022, Ms. Dorsi and I participated in a Zoom call with
                              4 Mr. Ostrin and Mr. Oldman. During this call, they directed responsibility for the
                              5 Igdaloffs’ lack of counsel on Ms. Susan Geffen (the conservatorship attorney for
                              6 Mr. Igdaloff’s daughters) for having objected during the February 18, 2022
                              7 conservatorship hearing to having the petition heard by a Commissioner, even
                              8 though Ms. Geffen and Mr. Igdaloff’s daughters were apparently aware that the
                              9 temporary conservatorship would otherwise expire. Both Mr. Ostrin and Mr.
                           10 Oldman again confirmed that they would not act as trial counsel in this matter and
                           11 stated that they did not know if counsel would be retained on the Igdaloffs’ behalf.
                           12 We requested that Mr. Ostrin and Mr. Oldman inform us immediately if the
                           13 Igdaloffs retained trial counsel.
                           14             6.     The details regarding Union Pacific’s interactions with Ms. Geffen are
                           15 not detailed further here, but are instead described in Union Pacific’s opposition to
                           16 Nancy Igdaloff’s and Susan Igdaloff’s ex parte motions and Ms. Dorsi’s supporting
                           17 declaration. ECF No. 469. In short, Ms. Geffen has disclaimed any responsibility
                           18 for procuring trial counsel to represent the Igdaloffs at trial.
                           19             7.     On April 1, 2022, having heard nothing further from Mr. Ostrin or Mr.
                           20 Oldman, Ms. Dorsi once again emailed Messrs. Igdaloff, Ostrin, and Oldman to
                           21 inquire about seeking clarification from the Court regarding the number of hard
                           22 copy exhibits to be lodged for trial. Again, Mr. Ostrin responded that he does not
                           23 represent Mr. Igdaloff in this action and did not respond to Ms. Dorsi’s further
                           24 question regarding whether the Igdaloffs had retained counsel. A true and correct
                           25 copy of this email chain is attached hereto as Exhibit 2.
                           26             8.     On April 8, 2022, Ms. Dorsi again emailed Mr. Igdaloff and his
                           27 conservatorship attorneys (including Mr. Oldman) regarding the lodging of trial
                           28 exhibits with the Court and also to inquire as to whether Mr. Igdaloff would
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                              1 stipulate to the approximate size of his assets for the purpose of the Court’s
                              2 equitable allocation determination. Ms. Dorsi requested a response by the end of the
                              3 day on Monday, April 11, but has heard nothing further on this issue. (In fact, we
                              4 have never received a responsive email from Mr. Igdaloff.) A true and correct copy
                              5 of this email chain is attached hereto as Exhibit 3.
                              6           9.     On Monday, April 11, 2022, I received a phone call from Mr. Gary
                              7 Meyer. I know Mr. Meyer from another CERCLA case in which we represent
                              8 adverse parties, and Mr. Meyer and I have a productive working relationship.
                              9 During this call, Mr. Meyer informed me that he had been retained by Marshal
                           10 Oldman, Mr. Igdaloff’s conservatorship attorney, in order to pursue settlement
                           11 discussions with Union Pacific. Mr. Meyer expressly stated that his role would not
                           12 include making an appearance in this case or acting as trial counsel.
                           13             10.    Over the course of Monday April 11, Mr. Meyer and I spoke by phone
                           14 three times, as I recall. The second time we talked, I informed Mr. Meyer that
                           15 Union Pacific might be amenable to a very short trial continuance if, and only if, the
                           16 Igdaloffs conveyed a settlement offer through Mr. Gallagher that reflected a serious,
                           17 good faith intention to settle the case sufficient to convince and reassure Union
                           18 Pacific that there would be value in briefly postponing trial to engage in further
                           19 settlement discussions. In the time since this conversation on April 11, no such
                           20 offer has been conveyed.
                           21             11.    The ex parte papers initially filed by Mr. Oldman yesterday requesting
                           22 a trial continuance (ECF No. 468) mistakenly indicated that Union Pacific supported
                           23 the requested continuance.
                           24             12.    Union Pacific respectfully thanks Mr. Oldman for correcting that
                           25 miscommunication in the supplemental declaration filed yesterday (ECF No. 469).
                           26             13.    On April 12, 2022, I again spoke with Mr. Meyer by phone, and then
                           27 again later with Mr. Meyer and Mr. Oldman. During these calls I explained that
                           28 Union Pacific still has no assurance that Mr. Igdaloff is serious about settling this
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                              1 case, and that the information provided to date does not suggest otherwise. In the
                              2 call with Mr. Meyer and Mr. Oldman, it was explained to me, and my understanding
                              3 is that while Mr. Oldman now has Mr. Igdaloff’s Power of Attorney (“POA”), Mr.
                              4 Oldman’s authority under Mr. Igdaloff’s POA permits Mr. Oldman only to take
                              5 certain actions on Mr. Igdaloff’s behalf, such as retaining Mr. Meyer. My
                              6 understanding of that conversation is that Mr. Oldman does not have authority to
                              7 settle this action on Mr. Igdaloff’s behalf. Instead, Mr. Igdaloff is solely in charge
                              8 of his affairs and any settlement offer and settlement agreement would have to be
                              9 approved and executed by him.
                           10             14.    At this time, Union Pacific sees no value in a further delay of trial. The
                           11 further cost for Union Pacific to prepare for and attend trial is minimal at this point
                           12 in comparison with the likely fees and expenses of further mediation sessions and
                           13 further time for parties and non-parties to file ex parte applications such as the three
                           14 that Union Pacific has had to oppose in the last two days. All of Union Pacific’s
                           15 witnesses have confirmed their availability, booked their flights and
                           16 accommodations, and cleared their schedules. All of Union Pacific’s pre-trial
                           17 submissions have been filed, it has submitted written direct testimony for eight of its
                           18 witnesses, and the voluminous trial exhibits are already being printed at great
                           19 expense to Union Pacific. Putting Union Pacific’s remaining (minimal) trial work
                           20 on hold to instead pursue mediation is just as likely to cost Union Pacific as much, if
                           21 not more, money in fees and expenses than simply moving forward to trial. This is
                           22 especially the case if mediation is unsuccessful and we end up back in trial in 30
                           23 days.
                           24             15.    To the extent that Mr. Meyer or Mr. Oldman can work with Mr.
                           25 Igdaloff to put forward a serious settlement offer in the week leading up to trial,
                           26 Union Pacific will seriously consider any such offer and will respond promptly.
                           27             I declare under penalty of perjury under the laws of the United States of
                           28 America that the foregoing is true and correct.
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                              1           Executed on this 13th day of April, 2022, at San Francisco, California.
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                                                                              Sarah P. Bell
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